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                  EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



  DFINITY FOUNDATION, Switzerland-                  Case No. 1:22-cv-5418
  based not-for-profit organization,
                                                    COMPLAINT
                            Plaintiff,
                                                    JURY TRIAL DEMANDED
                   v.
                                                    (1) DEFAMATION
  THE NEW YORK TIMES COMPANY, a                     (2) UNFAIR BUSINESS AND TRADE
  New York corporation; ANDREW ROSS                     PRACTICES
  SORKIN, an individual; EPHRAT
  LIVNI, an individual; ARKHAM
  INTELLIGENCE, INC., a Delaware
  corporation; MIGUEL MOREL, an
  individual; CHARLIE SMITH, an
  individual; JONAH BENNET, an
  individual; ZACHARY LERANGIS, an
  individual; KEEGAN MCNAMARA, an
  individual; NICK LONGO, an individual;
  and JOHN DOES 1-10,

                            Defendants.



         Plaintiff Dfinity Foundation (“Dfinity” or “Plaintiff”) alleges as follows:

                                    SUMMARY OF THE CASE

         1.      This is an action for defamation and unfair business and trade practices against

Defendants The New York Times Company (the “Times”), the Times reporters Andrew Ross Sorkin

(“Sorkin”) and Ephrat Livni (“Livni”) (collectively, the “Times Defendants”), and Arkham

Intelligence, Inc. (“Arkham”), Arkham’s founder and Chief Executive Officer Miguel Morel

(“Morel”), and other current or former Arkham officers, agents, employees, or affiliates Charlie

Smith, Jonah Bennet, Zachary Lerangis, Keegan McNamara, Nick Longo, and John Does 1-10

(collectively, the “Arkham Defendants”, and together with the Times Defendants, the



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“Defendants”).

         2.       This action will show how wealthy and powerful individuals specifically used the

Times and the willingness of its star reporter, Andrew Ross Sorkin, to knowingly publish with

actual malice a defamatory story about a “hit piece” report (the “Arkham Report”)—a report that

was secretly bought and paid for by the wealthy elites who sought to personally profit from the

scheme. As a direct result of the Times, through its celebrity reporter Sorkin, publishing the story

which relied solely on the false Arkham bought-and-paid for hit piece, the scheme worked and

Dfinity suffered extraordinary damages.

         3.       The Times Defendants’ actual malice in publishing the Arkham Report is

demonstrated by a number of facts, including:

               a. Arkham is a self-proclaimed “crypto analysis” firm that has released only one

                  single report—the Arkham Report—in the entire duration of its existence. Arkham

                  and its purported founder and CEO, Morel, were previously completely unknown

                  within the world of cryptocurrency analysis.

               b. Arkham’s Twitter account has a total of seven (7) tweets, the first one dated on June

                  28, 2021—all of them concern the Arkham Report.

               c. Like Morel, the other authors of the Arkham Report all appear to be in their 20’s

                  with zero experience reporting on the blockchain industry, but many of whom have

                  connections to Dfinity’s competitor, Reserve Protocol (“Reserve”).

               d. On information and belief, one of Arkham’s investors is a billionaire who has

                  significant investments in competing crypto projects. On information and belief,

                  the Times Defendants consciously disregarded that Arkham was paid by an as-yet-

                  unidentified individual or individuals to produce the defamatory Arkham Report hit

                  piece.

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               e. Simply stated, even minimal journalistic diligence would have demonstrated that

                  the Arkham Report was created for only one purpose: to cause reputational and

                  financial damage to Dfinity and the Internet Computer Protocol.

               f. The article published in the Times does not include any facts relating to the

                  unknown status and inexperience of Arkham, even though such information was

                  surely known to Times reporters. Nor does the article contain any significant

                  information about Arkham’s motives, or who was funding Arkham, even though

                  the Times reporters surely had suspicions or obvious reasons to suspect such

                  motives and funding.

               g. Notwithstanding the above origins of Arkham, the Arkham Report was not sent to

                  a junior Times reporter who might not understand the Arkham Report’s defamatory

                  aim. Rather, it was intentionally provided in advance of public dissemination to

                  Sorkin—the Times’ star reporter—who ironically is the co-creator behind the hit

                  television series “Billions” (which centers on the machinations of New York’s most

                  rich and powerful elite and whose plot lines would find familiar the real-life scheme

                  here that resulted in the manufactured, bought-and-paid for defamatory Arkham

                  Report being used—with the help of the Times—to cause extraordinary damages to

                  Dfinity). Access to Sorkin is highly coveted, as is getting him to spend the time to

                  publish a story. Sorkin well understood the need, prior to reporting, to investigate

                  who Arkham was, who was financing it, who paid Arkham to produce the hit piece

                  and why and how much, and to avoid publishing rumors and defamation per the

                  Times’ editorial guidelines alleged below. (Sorkin’s dual role as a journalist and

                  television series creator also raises the inference that he had a motive to

                  sensationalize the Dfinity story or to disseminate false or misleading information

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                  to further his second career in the content creation industry.)

               h. On information and belief, Livni, who co-wrote the Times article, is a licensed

                  attorney in multiple jurisdictions, including New York—and, as such, expected to

                  be aware of the actual malice standard.

               i. The Times Defendants decided not to disclose to Dfinity the existence or contents

                  of the Arkham Report when it sought comment from Dfinity on the Sunday night

                  before the article was published the next day on Monday, June 28, 2021.

               j. Before publication, Dfinity provided detailed information to the Times refuting key

                  aspects of the article. Rather than take the time to investigate the claims made by

                  Dfinity to determine whether the article could still be published or would need to

                  be substantially modified or spiked, the Times Defendants went ahead and

                  published the article based on the defamatory Arkham Report, complete with false

                  statements of fact, the next day. In maliciously publishing the article, the Times

                  Defendants knew that the article would have an immediate, negative impact on the

                  infancy of the decentralized Web3 technology that Dfinity is pioneering. And, in

                  fact, that is precisely what happened as alleged herein.

         4.       Blockchain is a revolutionary database technology that distributes identical copies

of a database across an entire network, making it very difficult to cheat or hack a system. This

differs from conventional databases, where data is maintained in one location by a centralized

administrator. Blockchains are best known for their role in cryptocurrency, or digital currency, for

maintaining a secure and decentralized record of transactions.

         5.       With a team of more than 200 world-renowned scientists and engineers, Dfinity is

a not-for-profit organization that is innovating cryptography, distributed systems, and

programming languages. Dfinity develops transformative and disruptive technology for the

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groundbreaking Internet Computer blockchain, which is meant to revolutionize what today is done

on the World Wide Web by creating a more advanced, open, decentralized, accessible, and secure

blockchain-based alternative. In connection with the Internet Computer’s Genesis (i.e. go-live

creation) Event in 2021, the Internet Computer’s own native cryptocurrency, the ICP utility token

became available. “ICP” is the acronym for the Internet Computer Protocol. ICP tokens provide

the fuel for decentralized app (“dapp”) developers to build decentralized apps on the Internet

Computer.

         6.     On June 28, 2021, Defendants executed a coordinated attack to defame and cause

significant damage to Dfinity in three (3) back-to-back publications, including the Times, falsely

and maliciously accusing Dfinity of engaging in illegal and wrongful conduct in connection with

the Genesis of the Internet Computer blockchain network and release of the ICP utility token in

May 2021.

         7.     At approximately 6:04 a.m. on June 28, 2021, Arkham, a previously unknown

company with no track record or reputation in the cryptocurrency industry, released a promotional

video      in   a   post    on    its   Twitter       account   @ArkhamIntel      (available    at

https://twitter.com/ArkhamIntel/status/1409497855514062849) (the “Arkham Video”), with the

caption: “After a $300 billion valuation at launch, ICP tanked 95%. Everyone wants to know why.

Arkham did a comprehensive analysis. This video presents our findings.”

         8.     The Arkham Video featured Arkham’s purported founder and CEO, Morel, who,

like Arkham, was also previously unknown and had no track record or reputation within the

cryptocurrency industry. Morel’s Twitter account has a total of three (3) tweets: the first two (a

retweet from Sorkin’s DealBook newsletter Twitter account and a retweet from Arkham’s Twitter

account) both dated on June 28, 2021 and concern the Arkham Report; and the last tweet, an

unprompted admission, dated July 3, 2021, falsely distancing himself from any gain the public

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may perceive him to have received related to the release of the Arkham Report. In the video, Morel

falsely accuses Dfinity of, among other things, engaging in wrongful conduct with insiders who

allegedly were “dumping billions of dollars of ICP while smaller supporters and retail had been

left in the dark watching their investments tank” and calling the situation “one of the most extreme

cases of investor mistreatment in the history of crypto markets and financial markets overall.” He

also went on to falsely deny that Arkham had been paid to produce the Arkham Report.

         9.    At its conclusion, the Arkham Video published the URL address to Arkham’s

purported analysis—the Arkham Report: “See arkhamintelligence.com/icp for full analysis.” The

Arkham Report, dated June 28, 2021, was publicly released on that same date.

         10.   Shortly thereafter, on June 28, 2021—the same day the Arkham Report was

published—the Times through Sorkin and Livni published an article at its website,

www.nytimes.com, with the headline “The Dramatic Crash of a Buzzy Cryptocurrency Raises

Eyebrows”, which is available at: https://www.nytimes.com/2021/06/28/business/dealbook/icp-

cryptocurrency-crash.html (the “Article”). Among other alleged wrongful conduct, the Article

falsely claims that Dfinity engaged in an illegal “initial coin offering” and that Dfinity founder

Dominic Williams and insiders connected to Dfinity had allegedly deposited “10 million ICP

tokens worth more than $2 billion to exchanges after the [alleged and illegal] initial coin offering”

which “coincided with significant drops in the price of the ICP” and left small investors “out of

the process” and “stuck”—thereby executing a crypto scam with respect to the ICP token.

         11.   Despite what clearly was almost no due diligence into Arkham, the Article cites

Morel and the Arkham Report as its primary sources. The Article concedes that the Arkham Report

was shared with the Times prior to the publication of the Article, which means that the Arkham

Report was also shared with the Times prior to its public release on June 28, 2021 and, on

information and belief, that the Times Defendants and Arkham Defendants closely coordinated the

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publication of the Article on the same date that the Arkham Report and Arkham Video would be

released. The Article relies on Morel and Arkham even though both were completely previously

unknown in the crypto industry and plainly unreliable sources with ulterior motives. Notably, the

Arkham Report itself states that Morel is the co-founder of Reserve. The Article states this

important fact in passing, but does not mention that as of the date of publication of the Arkham

Report and the Article, Reserve was a wannabe competitor of Dfinity in the cryptocurrency

industry or the inherent unreliability of a competitor’s statements about another crypto company.

Nor does the Times mention the fact that Arkham has, as its “angel” investor, a noted billionaire

investor in other crypto projects—or that an undisclosed third party paid to commission the

defamatory Arkham Report. And of course, the Article does not mention that Arkham had no

previous existence covering the crypto industry, or any of the other dubious facts about the Arkham

Defendants, their lack of experience and qualifications, and malicious ulterior motives in attacking

and defaming Dfinity.

         12.   In fact, Arkham is a self-proclaimed “crypto analysis” firm that, on information and

belief, has released only one single report—the Arkham Report—in the entire duration of its

existence, published a year ago. Arkham’s Twitter account has a total of seven (7) tweets, the first

one dated on June 28, 2021—all of them concern the Arkham Report. Moreover, the other authors

of the Arkham Report besides Morel, many of whom have connections to Dfinity’s competitor,

Reserve, appear to be in their 20’s and shortly after they published the Arkham Report, they fled

from Austin, Texas to London, England where flush with apparently newfound cash, they currently

reside—frat boy style—in a huge mansion they lease for 32,500 GBP (approximately US $40,000)

per month. In other words, it can be reasonably inferred that Arkham was founded and capitalized

for only one purpose, to cause reputational damage to Dfinity and its investors. Simply stated,

there is no way that the Arkham Defendants, acting alone, could have gotten access to Sorkin, let

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alone coordinated this scheme and convinced Sorkin and his editors to publish the Article based

on the intentionally false facts contained in the bought-and-paid for Arkham Report.

          13.    In June 2022, online investigative video footage posted on Crypto Leaks shows

Arkham representatives admitting that Arkham was in fact hired and paid a significant sum by a

wealthy individual to create the Arkham Report.1 On information and belief, this wealthy

individual has investments in the cryptocurrency space that are competitive with Dfinity, and paid

Arkham and Morel to create the Arkham Report, knowing that the report would make false and

defamatory statements about Dfinity therein, and with the intent and purpose that the report and

statements would be shared with Sorkin and Livni at the Times and republished in an article, to

provide instant legitimacy to and bolster the Arkham Report’s supposed reliability, and publicize

throughout the world the false and highly damaging statements in the Arkham Report.

          14.    In a taped interview available at Crypto Leaks, Nick Longo of Arkham, when asked

if Arkham has an “angel”, responds in the affirmative, naming a billionaire crypto investor.2 On

information and belief, Defendants carried out their malicious actions—simply put, a coordinated

hit job—to intentionally harm Dfinity and its reputation, interfere with its business dealings and

relationships, including to gain a competitive advantage for the Arkham Defendants and their

financier(s) in the cryptocurrency industry, and potentially bankrupt Dfinity in the process. On

information and belief, the named Arkham Defendants and their sponsors also profited in

additional ways from their actions.

          15.    Sorkin and Livni (a lawyer) are seasoned journalists reporting on business and

policy matters for the Times. At all times, they knew that Arkham, Morel and the other Arkham

Defendants were sudden and suspicious newcomers to the crypto industry who had no credentials


1
    https://cryptoleaks.info/case-no-2 (last accessed June 24, 2022).
2
    https://cryptoleaks.info/case-no-2 (last accessed June 24, 2022).

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or reputations for their alleged expertise or any legitimate basis for their supposed and very serious

“findings” about Dfinity and ICP. The Times Defendants doubted or had obvious reasons to doubt

the veracity of their sources and the sources’ claims about Dfinity. Nevertheless, on the very same

day the Arkham Report was released, the Times Defendants, without any serious investigation into

the backgrounds, ulterior motives, and obvious conflicts of interest of the Arkham Defendants, and

also without investigating the truth or falsity of the claims contained in the Arkham Report, even

though it would naturally cause tremendous reputational and economic harm to Dfinity, published

and repeated the false and defamatory statements about Dfinity contained in the Arkham Report.

The Times Defendants purposefully avoided investigation or further investigation, with an intent

to avoid the truth. Any “investigation” by the Times Defendants was deliberately skewed to avoid

uncovering the truth—or, worse yet, simply ignored the truth.

         16.   Moreover, on Sunday June 27, 2021 (the day before the Arkham Report and Article

were published), the Times posed a series of allegations to Dfinity that it would ultimately discuss

in the Article, and Dfinity responded immediately by emails and telephone, telling the Times that

all such allegations were completely false and providing detailed explanations as to why. The next

day—June 28, 2021—Dfinity responded to the publication of the Article by email to Sorkin and

Livni, again informing them that the statements and allegations in the Article (and Arkham Report)

were false and providing explanations as to why. In response, Sorkin stated: “We just reported the

factual matters of what [Arkham and other critics online] said. We also reported what you said.”

In reality, and as specifically alleged below, in publishing the Article and engaging in the conduct

alleged herein, Sorkin, Livni and the Times’ editors intentionally and maliciously disregarded both

generally recognized journalistic standards and the Times’ own written standards.




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         17.   The fact that Sorkin, who writes about the influence the uber-wealthy has on the

media,3 and Livni (a lawyer), conducted no diligence on their primary (and apparently only) source

for the Article is alarming and strongly suggests undue influence by a third party, causing these

seasoned reporters to ignore the Times’ own standards for reporting and ethics. Dfinity finds it

highly suspicious that a company with no track record (Arkham) and an individual with limited

work experience (Morel) managed to convince veteran Times reporters to base an entire story on

a dubious paid-for report that made unsubstantiated and defamatory allegations unless the Times

reporters were unduly influenced by a third party with direct access to the reporters. Dfinity

believes discovery will reveal that Sorkin and/or Livni were unduly influenced by an uber-wealthy

and influential third party to be an accomplice in this coordinated hit job along with Arkham and

its financier(s) (competitors to Dfinity who, on information and belief, also used their inside and

advanced knowledge that Sorkin and the Times would maliciously publish the Article based on the

Arkham Report to personally profit in additional ways) to cause substantial damage to Dfinity’s

business and reputation.

         18.   Defendants’ false and defamatory statements and tortious conduct have caused, and

will continue to cause, extraordinary damages to Dfinity and the Internet Computer Protocol.

Defendants must be held accountable for the harm they foreseeably caused Dfinity and the Internet

Computer Protocol by their defamatory statements made with actual malice and their tortious

conduct.




3
   See, e.g., Andrew Ross Sorkin, Billionaires’ latest trophies are newspapers, CNBC,
https://www.cnbc.com/id/100941146 (Aug. 6, 2013) (“If it wasn’t clear that newspapers have
become trophies for the wealthy with an interest in journalism or power – or a combination of both
– it should be now.”) (last accessed June 23, 2022).

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                                               PARTIES

         19.   Dfinity is a not-for-profit organization, organized under the laws of Switzerland,

with its principal place of business in Zurich, Switzerland.

         20.   Defendant the Times is a New York corporation with its principal place of business

at 620 Eighth Street, New York, New York.

         21.   On information and belief, defendant Sorkin is an individual who resides in and is

a citizen of the State of New York, where he works as a reporter for the Times.

         22.    On information and belief, defendant Livni is a lawyer licensed in New York who

resides in the District of Columbia, and works in the State of New York as a reporter for the Times.

         23.   On information and belief, defendant Arkham is a Delaware corporation, which is

registered to do business in the State of New York with its principal place of business in New York,

New York.

         24.   On information and belief, defendant Morel is an individual who resides in and is

a citizen of the State of New York.

         25.   On information and belief, defendants Charlie Smith, Jonah Bennet, Zachary

Lerangis, Keegan McNamara, and Nick Longo, who all co-authored the Arkham Report with

Morel, are individuals currently residing in a $40,000 per month Chelsea mansion in London,

England.

         26.   On information and belief, defendants John Does 1-10 are current or former

officers, employees, agents, or affiliates of Arkham that contributed to the Arkham Report and/or

caused or contributed to it being published.




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                                  JURISDICTION AND VENUE

         27.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity between the parties and an amount in controversy over $75,000, and personal

jurisdiction because Defendants reside in, transact business in, are licensed and/or registered in,

contract to supply goods or services in, committed a tortious act in, and/or work in the state of

New York.

         28.    Venue is proper under 28 U.S.C. § 1391(b)(1) and (2), because Defendants are

located in this district and because a substantial portion of the events giving rise to the claims

asserted in this action occurred in this judicial district.

                                    FACTUAL ALLEGATIONS

         The Parties

         29.    Dfinity is a not-for-profit organization, founded in 2016, by crypto theoretician and

entrepreneur, Dominic Williams, who has a vision for transforming the public internet with the

world’s first web-speed, internet-scale public blockchain: the Internet Computer. In May 2021, the

Internet Computer Genesis Event launched its much-anticipated network and ICP utility token that

provides the fuel for dapp developers to create decentralized apps on the Internet Computer.

         30.    The Times is a multi-billion dollar global media organization that publishes The

New York Times daily newspaper and distributes content through its website at the URL address

www.nytimes.com, as well as several mobile platforms. Sorkin and Livni are reporters for the

Times.

         31.    Before the events alleged herein, the Arkham Defendants were completely

unknown in the crypto industry and space, and were hired and paid a significant sum by a wealthy




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individual to manufacture the Arkham Report4 and promote and disseminate the report and its false

and defamatory “findings” throughout the crypto industry, including but not limited to, in the

Arkham Video and in the Times Article.

         The Article

         32.   On Sunday, June 27, 2021, Livni sent an email to Seamus Conwell, the Account

Director for Dfinity, stating that she was working on a story about ICP “for tomorrow [Monday]

morning” and that she needed to “speak to Dominic Williams or get his comment today [Sunday]

if that is at all possible.” Livni stated that her deadline was “late [Sunday] for a story on Monday

morning ET.” Livni never explained why a story with no time element other than the release of the

defamatory Arkham Report was being rushed into print, leaving little time for Dfinity to provide

adequate responses. Mr. Conwell responded, however, stating that it might not be possible for

Livni to reach Mr. Williams (Dfinity’s founder) on such short notice and requesting a list of

questions from Livni. Livni sent Mr. Conwell a list of eight (8) questions, to which Dfinity

provided extensive responses refuting in advance many of the false and defamatory claims the

Times Defendants ultimately published in the Article the very next day. Mr. Conwell and another

Dfinity representative Michael Lee also participated in a phone call to discuss with Livni the

information, and provide additional context, again refuting in advance the claims the Times

Defendants ultimately published in the Article the next day.

         33.   Importantly, during these pre-publication communications on the eve of the

publication of the Article, Livni and Sorkin of the Times, aware of the contents of the Arkham

Report having been provided with it prior to publication of the Article, intentionally did not ask

Dfinity or its representatives about the Arkham Report, Morel, or the specific false and defamatory


4
 https://cryptoleaks.info/case-no-2 (last accessed June 24, 2022)—see video interview with Longo
of Arkham.

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“findings” in the Arkham Report that they (Livni and Sorkin) knew they would be reporting in the

Article the very next morning. On information and belief, these seasoned journalists Livni and

Sorkin consciously, intentionally and maliciously decided not to disclose any of this, nor to ask

Dfinity representatives about these subject areas, because they did not wish to receive factual

information that contradicted the preconceived—and false and defamatory—narrative they had

settled on for their story.

         34.      The very next day, on June 28, 2021, the Times published the Article, falsely

accusing Dfinity, its founder Dominic Williams, and other “insiders” of orchestrating a crypto

scam where Dfinity and its “insiders” allegedly sold their tokens early for an immense profit while

small holders were unable to access their tokens and lost money when their ICP tokens supposedly

“crashed” or deflated. Prior to publication, the Times Defendants did not give Dfinity any

opportunity to respond to many of the explosive, sensational, and false and defamatory claims in

the Article.

         35.      The Article includes several false and defamatory statements of and concerning

Dfinity, including:

               a. Statement 1: The project, years in the works, generated a lot of buzz last month

                  ahead of its initial coin offering, the crypto equivalent of a company going public

                  and listing shares for investors to buy.

               b. Statement 2: Even in the famously volatile crypto market, ICP stands out. The

                  stunning climb and crash of this prominent project has market watchers puzzling

                  about what happened — and who may have profited.

               c. Statement 3: Miguel Morel, the founder of Arkham Intelligence, a crypto analysis

                  firm that followed the movements of ICP tokens on the blockchain, said that the

                  price action and flaws in the coin offering process suggested “something went

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                  wrong.”

               d. Statement 4: The process for claiming ICP tokens stands out, because “Dfinity did

                  not follow the playbook of other successful projects,” Arkham said. “Instead, it

                  appears they quietly allowed the treasury and insiders to send billions of dollars of

                  ICP to exchanges, while making it extremely difficult for their longtime supporters

                  to access the tokens they were promised.”

               e. Statement 5: Arkham identified 34 (misreported by the Times in the Article as 44)

                  “probable insider addresses” that deposited 10 million ICP tokens worth more than

                  $2 billion to exchanges after the initial coin offering [Genesis event], giving the

                  impression they were transferred for trading, not safeguarding. These transfers

                  coincided with significant drops in the price of ICP, the report said. Small investors,

                  left out of the process, were stuck.

         36.      These statements are false and defamatory because, among other things:

               a. They falsely accuse Dfinity of having an illegal “initial coin offering, the crypto

                  equivalent of a company going public and listing shares for investors to buy” and

                  “dr[iving] a massive crash in the price of ICP. When considering the dollar amounts

                  involved, it might come to be viewed as one of the biggest financial controversies

                  ever.”

               b. The ICP token is not a security—ICP is a utility token that is required to fuel the

                  energy required by dapp developers to build decentralized apps on the Internet

                  Computer. There was no initial coin offering. ICP utility tokens were lawfully

                  created out of the launch of a decentralized network—the Internet Computer

                  Protocol—and gain their utility through empowering independent actors to build

                  decentralized apps on the Internet Computer. Dfinity did not drive a massive crash

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                  in the price of the ICP token. Rather, Arkham, through its false and defamatory

                  report, and the Times through its publication of the false and defamatory Article and

                  Arkham allegations with actual malice as alleged herein, were responsible for

                  driving the crash.

               c. Before publication, Mr. Conwell at Dfinity explained in detail to the Times

                  Defendants the facts leading up to the launch of the Internet Computer, the

                  percentage of utility tokens put into circulation and their transfer, and the very

                  important difference between “transferring tokens from Coinbase Custody to other

                  exchange wallets for safekeeping” and “selling” tokens. More specifically, Mr.

                  Conwell rejected as false allegations raised by the Times via email that “a small

                  group of big ICP holders transferred and sold tokens en masse immediately upon

                  listing in May, causing prices to drop dramatically while small seed investors were

                  unable to retrieve their tokens due to what [some] say is a deliberately difficult

                  process” and that “Dfinity appears to have transferred a quarter of the ICP tokens

                  minted on listing day to a single address, which distributed about 30 million ICP

                  immediately to a few dozen addresses – all of those addresses, including the initial

                  distributor, quickly moved millions of ICP to exchanges and sold off tokens.” Mr.

                  Conwell further explained in a pre-publication email:

                  “At the Genesis launch of the Internet Computer, on May 10, approximately 26%
                  of ICP tokens were put into circulation. (This can be verified by independent data
                  sources such as CoinMarketGap, CoinGecko, and Messari.) The initial circulation
                  supply of 26% was moved to a DFINITY Foundation Coinbase Custody wallet, to
                  then transfer to early contributors, seed donors, strategic partners, former team
                  members, etc. Coinbase Custody was the only non-technical wallet available on
                  Day 1, so many ICP token holders received tokens and immediately transferred
                  tokens to another exchange wallet to avoid custody fees or to alternative wallets
                  they were more familiar with to safeguard their ICP tokens. Important not to
                  confuse transferring tokens from Coinbase Custody to other exchange wallets for
                  safekeeping as ‘selling’ tokens.”

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                  In addition, Dominic Williams and other senior members of the team were placed

                  under a lockup restriction following the Genesis event. Moreover, many of

                  Dfinity’s other executive team and employees did not receive their first token

                  allocations until June 21.

               d. The Article’s statements that the launch had “flaws” and that “something went

                  wrong” are false and defamatory because the network had been operating at 100%

                  availability since its launch, which is rare for a blockchain of its scale.

               e. The Article falsely accuses Dfinity of “not follow[ing] the playbook of other

                  successful projects” (in an ironic twist, the Arkham report cited Reserve as a “good

                  example of crypto best practices”—a project co-founded by Morel, the CEO of

                  Arkham—whose token is now essentially worthless at $.008) and “quietly

                  allow[ing] the treasury and insiders to send billions of dollars of ICP to exchanges,

                  while making it extremely difficult for their longtime supporters to access the

                  tokens they were promised.” As previously stated above, Dfinity explained the

                  process to the Times in the pre-publication communications. It is completely normal

                  at listing for an organization to transfer (not sell) tokens to relevant parties for

                  distribution. There is nothing unusual or improper about this. The tokens are then

                  re-distributed. This is how the industry works, and it is false and highly defamatory

                  for the Times Defendants to accuse of Dfinity of misconduct when it acted properly

                  here.

               f. The Article falsely claims that Dfinity deposited 10 million ICP tokens worth more

                  than $2 billion to 44 (the Arkham Report claimed it was 34) “insider addresses,”

                  “giving the impression they were transferred for trading, not safeguarding.”

                  Dfinity did not act improperly in connection with the launch of the Internet

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                  Computer. Once tokens are distributed and logged on chain, the token holders are

                  free to then do as they wish with their tokens. Dfinity did not “give any impression”

                  about the behavior of non-Dfinity employee token holders. And as previously

                  explained, there were lockups in place for Dominic Williams and other senior

                  members of the team. Seed investors had their allocations locked in neurons which

                  dissolved monthly—a fact Dfinity publicly disclosed on May 10, 2021—more than

                  a month before Arkham released its false and defamatory report and the Times

                  published the Article. Thus, the Article contradicts itself in this respect, alleging

                  that seed investors could not sell because it was allegedly too complicated while

                  also alleging that they must have sold because they got transfers and the price fell.

                  Both cannot be true at the same time.

         37.      The Article cited and included a link to the Arkham Report                        (at

https://assets.website-

files.com/62879326fd745f7489b43224/62a923938bc9235e93d47b4f_ICP%20Report_vF.pdf),

assuring to its staggering readership that the Arkham Report is allegedly legitimate. Without

referencing Arkham or Morel’s lack of credentials and lack of a track record or conflicts of interests

as alleged above, Livni and Sorkin cited Arkham as authoritative and referred to Arkham as “a

crypto analysis firm.”

         38.      The Arkham Report, which had been promoted by Arkham and Morel in the

Arkham Video in the early morning of June 28, 2021, was publicly released by Arkham that same

day. The Arkham Video contains additional false and defamatory statements, including:

               a. Morel: “It appears that this was not a coincidence or accident, but was a case of

                  misconduct by those who seem closely connected to ICP and who have been

                  dumping billions of dollars of ICP while smaller supporters and retail have been

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                  left in the dark watching their investments tank…I am going to… provid[e] ICP

                  holders with the clarity that they deserve….”

               b. Morel: “My team at Arkham Intelligence conducted a comprehensive analysis of

                  the ICP blockchain, and what we found causes us to believe that insiders have

                  continuously deposited billions of dollars of ICP on exchanges as everyone else

                  watched their investments tank.”

               c. Morel: “If the available data in our analysis is accurate, we should be asking

                  questions about what could be one of the most extreme cases of investor

                  mistreatment in the history of crypto markets and financial markets overall.”

         39.      These statements are 100% false and defamatory, for the same reasons outlined

above with respect to the statements in the Article.

         40.      The Arkham Report contains additional false and defamatory statements, including

among others:

               a. Our analysis has led us to believe that possible insiders connected to Dfinity have

                  been dumping billions of dollars of ICP on exchanges at the expense of small early

                  supporters and retail investors.

               b. Addresses we suspect belong to the Dfinity treasury and project insiders have

                  deposited 18.9 million ICP, worth ~$3.6 billion at time of deposit, to exchanges.

               c. Based on a review of their public materials, Dfinity has not followed industry

                  practices meant to demonstrate good faith and assure investors that project insiders

                  won’t trigger a price collapse through massive selling.

               d. Dfinity has not been transparent about token allocation and unlocking, unlike other

                  major projects.

               e. The Treasury and suspected insiders have continually sent millions of ICP worth

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                  billions of dollars to exchanges, totaling 75% of the total deposited, possibly

                  driving ICP’s price collapse.

               f. Finally, the exceptional decrease in the price of ICP since listing is indicative of

                  massive selling, which would likely be coming from these deposits, seeing as, based

                  on our analysis, they are the source of the vast majority of the ICP deposited to

                  exchanges.

               g. It appears Dfinity was not transparent about how tokens were distributed and when

                  they would be unlocked, contrary to industry best practices.

               h. These practices are not up to the standard[s] set by the most respected and

                  legitimate projects in crypto. Such standards exist in order to demonstrate good

                  faith on the part of the project and assure community members and retail investors

                  that project insiders will not risk collapsing the token’s price by selling large

                  amounts of tokens—what’s known in crypto as a “rug pull”, “team dump” or “VC

                  dump”. These insider-driven price collapses happen sometimes, and getting caught

                  in one is the biggest fear of many retail investors, leading legitimate projects like

                  Uniswap and Reserve to do everything they can to demonstrate that there is no

                  dump coming. (As alleged above, Reserve, Morel’s crypto project and then-

                  wannabe competitor to Dfinity that he self-referenced in the Arkham Video and

                  Arkham Report as the “model”—released its own token that has now fallen to $.008

                  and is essentially worthless.)

               i. Putting together the pieces of this analysis—large deposits to exchanges from the

                  Treasury and suspected insiders, lack of transparency on token distribution, a

                  byzantine process for outside supporters to claim tokens, and an ICP price

                  collapse—an overall picture emerges. It appears that Dfinity insiders made billions

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               of dollars dumping ICP on the market while making it difficult for their biggest

               potential rival sellers to dump theirs. It appears they tried to prevent outsiders from

               uncovering this activity through a lack of transparency about Dfinity’s token

               allocation and unlocking. And it appears that their activity drove a massive crash

               in the price of ICP. When considering the dollar amounts involved, it might come

               to be viewed as one of the biggest financial controversies ever.

         41.   These statements are also 100% false and defamatory, for the same reasons outlined

above with respect to the statements in the Article.

         42.   Nevertheless, the Times Defendants maliciously elevated and amplified the Arkham

Report and its purported “findings” in the Article, citing the report as both legitimate and

authoritative despite its authors’ obvious lack of credentials and conflicts of interest.

         43.   On June 28, 2021, Dfinity sent a written request to the Times Defendants,

identifying the serious and damaging falsities in the Article and notifying the Times of Arkham and

Morel’s lack of qualifications and motives to be untruthful. Dfinity’s communication also

expressed alarm that the Times did not give Dfinity an opportunity to respond to the many Arkham

Report alleged “findings” parroted in the Article before publication. The Times Defendants

nevertheless refused to retract the statements, and have not corrected any of them, claiming that

they allegedly “just reported that factual matters of what [Arkham and other critics online] said”

and what Dfinity allegedly said.

         44.   In publishing the Article and refusing the retraction and corrections Dfinity

requested, the Times Defendants ignored and violated the Times’ own ethical guidelines:

               The Times treats its readers as fairly and openly as possible. In print
               and online, we tell our readers the complete, unvarnished truth as
               best we can learn it. It is our policy to correct our errors, large and
               small, as soon as we become aware of them.



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               …

               Staff members who … knowingly or recklessly provide false
               information for publication betray our fundamental pact with our
               readers. We will not tolerate such behavior.5

         45.   The Times Defendants also ignored and violated the Times’ own guidelines on

integrity:

               Attribution to another publication, though, cannot serve as license
               to print rumors that would not meet the test of The Times’s own
               reporting standards. Rumors must satisfy The Times’s standard of
               newsworthiness, taste and plausibility before publication, even
               when attributed. And when the need arises to attribute, that is a good
               cue to consult with the department head about whether publication
               is warranted at all.

               …

               Because our voice is loud and far-reaching, The Times recognizes
               an ethical responsibility to correct all its factual errors, large and
               small. The paper regrets every error, but it applauds the integrity of
               a writer who volunteers a correction of his or her own published
               story. Whatever the origin, though, any complaint should be relayed
               to a responsible supervising editor and investigated quickly. If a
               correction is warranted, fairness demands that it be published
               immediately. In case of reasonable doubt or disagreement about the
               facts, we can acknowledge that a statement was ‘imprecise’ or
               ‘incomplete’ even if we are not sure it was wrong.6

         46.   The Times Defendants also ignored and violated the Society of Professional

Journalists’ Code of Ethics, which the Times purports to follow and has posted on its website:

               Seek Truth and Report It

               Journalists should be honest, fair and courageous in gathering,
               reporting and interpreting information.

               Journalists should:

               - Test the accuracy of information from all sources and exercise care

5
  https://www.nytimes.com/editorial-standards/ethical-journalism.html#ourDutyToOurReaders
(last accessed June 23, 2022).
6
  https://www.nytimes.com/editorial-standards/guidelines-on-integrity.html (last accessed June
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               to avoid inadvertent error.         Deliberate distortion is never
               permissible.

               - Diligently seek out subjects of news articles to give them the
               opportunity to respond to allegations of wrongdoing. …

               Minimize Harm …

               Journalists should: …

               - Recognize that gathering and reporting information may cause
               harm …

               Act Independently

               Journalists should be free of obligation to any interest other than the
               public’s right to know.

               Journalists should:

               - Avoid conflicts of interest, real or perceived.

               - Remain free of associations and activities that may compromise
               integrity or damage credibility. …

               Be Accountable

               Journalists are accountable to their readers, listeners, viewers and
               each other.

               Journalists should:

               - Clarify and explain news coverage and invite dialogue with the
               public over journalistic conduct. …

               - Admit mistakes and correct them promptly. …

               Abide by the same high standards to which they hold others.7

         47.   Instead of upholding the above standards, conducting any good faith serious

investigation into Arkham or Morel’s credentials or their motives, or subjecting their explosive,

sensational, defamatory and damaging claims to any scrutiny, the Times Defendants published the



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 https://archive.nytimes.com/www.nytimes.com/learning/general/weblines/4111.html (last
accessed June 23, 2022).

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Article and promoted the false and defamatory Arkham Report, causing substantial harm to Dfinity

in the process. The Times Defendants then compounded this injury by refusing Dfinity’s requested

retraction and corrections.

         48.   At the time of the publication of the Arkham Report and the Times Article, the

industry was in the midst of a bull market. Defendants’ conduct caused a major price collapse of

the ICP token, causing Dfinity an enormous amount of direct monetary damage, and reputational

and business harm. Specifically, the Internet Computer was a revolutionary product which had

been under development for 5 years and which should have rebounded substantial benefits to the

Foundation that created it. Due to Defendants’ defamatory statements, this did not happen as

expected, and instead, the token eventually lost a substantial percentage of its value.

         49.   In addition, Defendants’ conduct directly harmed the reputation of Dfinity, making

it more difficult for Dfinity to develop its business and related products and services, as

Defendants’ defamation was repeated and republished in industry media. Furthermore, the

reputational damage caused to Dfinity has manifested itself in additional and ongoing ways,

including but not limited to creating obstacles for Dfinity in attracting and retaining talent,

generating an ongoing rumor mill about Dfinity specifically focused on the false and defamatory

statements that are the subject of this lawsuit, and leading to decreased industry coverage of the

Internet Computer’s revolutionary technological advancements. Defendants’ false and defamatory

statements did substantial harm to Dfinity as an ongoing business in a growing business sector of

the high-tech economy, while benefitting Dfinity’s competitors in that same sector.




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                                  FIRST CAUSE OF ACTION

                              (Defamation Against All Defendants)

          50.   Dfinity re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          51.   The Times Defendants published or caused to be published false and defamatory

statements in the Article of and concerning Dfinity, and did so with actual malice.

          52.   The Arkham Defendants published or caused to be published false and defamatory

statements in the Arkham Video, the Arkham Report, and the Article of and concerning Dfinity,

and did so with actual malice.

          53.   Defendants’ false and defamatory statements caused actual damages to Dfinity.

          54.   The above-referenced published statements constitute egregious conduct

constituting malice. Defendants’ acts were willful and malicious. As such, in addition to

compensatory damages and/or presumed damages, Dfinity demands punitive damages relating to

Defendants’ defamatory statements, in an amount to be determined at trial.

                                  SECOND CAUSE OF ACTION

                (Violation of N.Y. Gen. Bus. Law § 349 Against the Arkham Defendants)

          55.   Dfinity re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          56.   The Arkham Defendants willfully and knowingly committed deceptive acts or

practices in the conduct of any business, trade or commerce in publishing or causing to be

published false and defamatory statements in the Arkham Video, the Arkham Report, and the

Article of and concerning Dfinity, in violation of N.Y. Gen. Bus. Law. § 349(a).

          57.   The Arkham Video, Arkham Report, and Article were publicly disseminated and

directed at actual and potential users of the Internet Computer and anyone who was then or might

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be contemplating transacting business with Dfinity, as well as consumers and potential consumers

of the Reserve project co-founded by Morel and affiliated with the Arkham Defendants that purport

to compete with Dfinity.

         58.    As discussed further above, the statements in the Arkham Video, Arkham Report,

and Article were materially misleading.

         59.    The Arkham Defendants’ deceptive acts or practices caused actual damages to

Dfinity and further harmed Dfinity's reputation and that of its researchers and developers.

         60.    The above-referenced published statements constitute intentional or deliberate

wrongdoing, aggravating or outrageous circumstances, a fraudulent or evil motive, and/or a

conscious act that willfully and wantonly disregarded Dfinity’s rights. As such, in addition to

compensatory damages, Dfinity demands both treble and punitive damages relating to the Arkham

Defendants’ deceptive acts or practices, in an amount to be determined at trial.

                                  DEMAND FOR JURY TRIAL

         Dfinity demands a trial by jury.

                                     PRAYER FOR RELIEF

         WHEREFORE, Dfinity respectfully requests:

                (a) An award of damages to Dfinity in an amount to be determined at trial but well

                    in excess of $75,000;

                (b) An award of treble damages to Dfinity in an amount to be determined at trial;

                (c) An award of punitive damages to Dfinity in an amount to be determined at trial;

                (d) An order granting permanent injunctive relief enjoining Defendants from

                    continuing to publish or republish the statements adjudicated to be defamatory;

                (e) An award of reasonable attorneys’ fees and costs; and




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               (f) An award of such other and further relief as the Court may deem just and proper.



Dated: June 27, 2022                         Respectfully submitted,


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